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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                               Eastern Division

Barry Gilfand, et al.
                              Plaintiff,
v.                                                Case No.: 1:07−cv−02566
                                                  Honorable Harry D. Leinenweber
Jeffery Planey, et al.
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 29, 2014:


        MINUTE entry before the Honorable Harry D. Leinenweber:Motion hearing held
on 4/29/2014.Plaintiffs' Motion for Turn Over Order [559] is granted. Plaintiff to submit
corrected turnover order. Mailed notice(wp, )




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